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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

CITY OF ANNAPOLIS, MARYLAND,                     )
                                                 )
                Plaintiff,                       )
                                                 )
       v.                                        )
                                                 )   Case No.: 1:21-cv-00772-ELH
BP P.L.C., et al.,                               )
                                                 )
                Defendants.                      )
                                                 )


                                  NOTICE OF APPEARANCE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       Please enter my appearance as counsel of record in this case for defendants CNX

Resources Corporation, CONSOL Energy Inc., and CONSOL Marine Terminals LLC.1

       I certify that I am admitted to practice in this Court.



Dated: April 5, 2021                          Respectfully Submitted,


                                              /s/ Tracy A. Roman
                                              Tracy A. Roman, Bar Number 11245
                                              CROWELL & MORING LLP
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                                              Washington, DC 20004
                                              Tel: 202-624-2500
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       1
          CNX Resources Corporation, CONSOL Energy Inc., and CONSOL Marine Terminals
LLC reserve all rights, including defenses and objections as to venue, service, and personal
jurisdiction. The filing of this Notice is subject to, and is not intended to and does not waive, any
such defenses and objections.
         Case 1:21-cv-00772-SAG Document 53 Filed 04/05/21 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed through the ECF system on the 5th

day of April 2021.



                                           /s/ Tracy A. Roman
                                           Tracy A. Roman




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